                Case 20-10343-LSS             Doc 1432        Filed 10/07/20        Page 1 of 22




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                         Chapter 11

BOY SCOUTS OF AMERICA AND                                      Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,
                                                               (Jointly Administered)
                          Debtors.1
                                                               Re Docket No. 1144 & 1161


            SUPPLEMENTAL BRIEF OF THE COALITION OF ABUSED
        SCOUTS FOR JUSTICE IN SUPPORT OF (A) MOTION FOR AN ORDER
     APPROVING THE SUFFICIENCY OF THE AMENDED 2019 STATEMENT, AND
      (B) MOTION OF THE COALITION TO PARTICIPATE IN THE MEDIATION

          The Coalition of Abused Scouts for Justice (the “Coalition”), by its undersigned counsel,

hereby submits this Supplemental Brief in support of (A) Motion for an Order Approving the

Sufficiency of the Amended 2019 Statement (the “2019 Motion”) [Docket No. 1144],2 and

(B) Motion of the Coalition to Participate in the Mediation (the “Mediation Motion” [Docket

No. 1161] and, together with the 2019 Motion, the “Motions”).3 In support of the Motions, the

Coalition respectfully states as follows:



1
    The Debtors in these chapter 11 cases, together with the last four digits of Debtor’s federal tax identification
    number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
    address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
    Capitalized terms used but not otherwise defined herein have the meanings given to them in the 2019 Motion, the
    Bar Date Order (as defined in the 2019 Motion), or the Second Amended Verified Statement of Coalition of
    Abused Scouts for Justice Pursuant to Bankruptcy Rule 2019 (“Second Amended Verified Statement”) [Docket
    No. 1429].
3
    Objections to the 2019 Motion were filed by David Lee Lambert (the “Mr. Lambert”) [Docket No. 1219]
    (the “Lambert Objection”, the United States Trustee (the “U.S. Trustee”) [Docket No. 1223] (the “U.S. Trustee
    Objection”), Allianz Global Risks US Insurance Company and National Surety Corporation (together, “Allianz”)
    [Docket No. 1224] (the “Allianz Objection”), and the Official Committee of Tort Claimants (the “TCC”) [Docket
    No. 1228] (the “TCC 2019 Objection”). Century et al. (“Century”) filed a Motion to Compel Compliance with
    Rule 2019 [Docket No. 1164] (the “Motion to Compel”). Objections to the Mediation Motion were filed by
    Hartford Accident and Indemnity Company, First State Insurance Company and Twin City Fire Insurance
    Company (collectively, “Hartford”) [Docket No. 1222] (the “Hartford Objection”), Allianz [Docket No. 1224],
    Century [Docket No. 1230] (the “Century Objection”), and the TCC [Docket No. 1231] (the “TCC Mediation
    Objection”). All of the foregoing objections are referred to herein collectively as the “Objections.”


{00219477-1}
                 Case 20-10343-LSS              Doc 1432        Filed 10/07/20         Page 2 of 22




                                       PRELIMINARY STATEMENT

          1.       The purpose of this Supplemental Brief is to update the Court on the progress

made since the September 9th hearing on the Motions (the “Hearing”) and to address issues

raised at Hearing by the Court, the U.S. Trustee, the TCC, and the Insurers.4

          2.       The Coalition has grown and now includes over 28,000 Members. More than

4,500 Members have executed an “Affirmative Consent” consenting to becoming a Member of

the Coalition and authorizing their respective State Court Counsel to instruct Brown Rudnick and

Monzack Mersky Browder and Hochman, P.A. (“MMBH”) in connection with these cases. The

Coalition expects that many more of its Members will soon sign the Affirmative Consent.

          3.       The Affirmative Consent makes it clear that the fees and expenses incurred by

Coalition Counsel will be paid by State Court Counsel—not by the Members—and that any

payment of such fees and expenses by State Court Counsel will not increase the fees and

expenses owed by Members to their State Court Counsel. The Affirmative Consent is not

required under Bankruptcy Rule 2019. The Coalition went beyond Rule 2019’s disclosure

requirements to address the concerns raised at the Hearing so that these cases can move forward.

          4.       The Debtors believe that the Coalition has satisfied the disclosure requirements of

Bankruptcy Rule 2019 and should be designated as a Mediation Party. See Docket No. 1269-1 at

¶¶ 3, 7.5 The Mediators want the Coalition to be included. Id. at ¶ 7 & fn. 11. The TCC and the

Insurers stand together and seek to exclude representatives of over 28,000 Sexual Abuse

4
    The “Insurers” as referenced throughout this Motion include a combination of Century, Hartford, and other
    insurance companies that have joined themselves to the various Motions filed by Century and Hartford.
5
    The Debtors also made it clear at the Hearing that it is most productive for the Court to grant the Coalition a seat
    at the table. See Hr’g Tr. 137:3-5; 138:5-13 (“We would just urge the Court, as you consider a schedule for
    additional discovery and hearing on the 2019, to keep [that time is not the Debtors’ friend] in mind. The Debtors
    are prepared to engage as quickly as possible with all of the constituencies, but obviously, a hearing like this is
    extremely expensive for the estate and we are very anxious to get to the table and see if we can reach a resolution
    that allows for survivors to be fairly compensated and allows scouting to continue its very, very critical
    mission.”).


{00219477-1}                                                2
                Case 20-10343-LSS            Doc 1432        Filed 10/07/20       Page 3 of 22




Survivors from participating in the Mediation and, as a result, prevent the Coalition from having

access to financial, insurance and other confidential mediation information that the Coalition

needs to be a constructive participant in the Mediation. Any process that permits this outcome

has limited chance of success.

          5.       The Coalition respectfully asserts that it has complied with Bankruptcy Rule

2019’s disclosure requirements; and that the Coalition should be designated as a Mediation

Party.

                                      SEPTEMBER 9TH HEARING

          6.       On September 9, 2020, the Court held and continued a hearing on the Motions.

At the Hearing, and in their court filings, the U.S. Trustee, the TCC and the Insurers challenged

the sufficiency of the Coalition’s Rule 2019 disclosures.                 The U.S. Trustee noted that the

Coalition’s Rule 2019 statement was not verified and argued that the Coalition’s empowering

documents should be filed publicly in unredacted form.6 See Hr’g Tr. 97:1-98:1-2.

          7.       The TCC argued that the Coalition’s empowering documents do not make it clear

which individuals or entities the Coalition Counsel represents—the State Court Counsel or the

Members—and that potential ethical deficiencies in the Coalition Representative Firm

engagement letters negate Coalition Counsel’s authority to act on behalf of the Members. See id.

at 111:23-113:6. Before the Hearing, certain Insurers filed a lengthy brief arguing that attorney

advertising undertaken by two lawyers—Mr. Timothy Kosnoff and Mr. Andrew Van Arsdale—

do not comply with the Rules of Professional Conduct or state mandates concerning attorney




6
    The Coalition is continuing to work with the US Trustee to resolve any concerns that may remain. We provided a
    draft Amended Verified Statement to the US Trustee on October 6th and, to the extent there are any unresolved
    issues, we will continue our efforts with the US Trustee to resolve them before the hearing.




{00219477-1}                                             3
                 Case 20-10343-LSS               Doc 1432         Filed 10/07/20         Page 4 of 22




advertisements.         See Docket No. 1266.7             At the Hearing, the Insurers demanded that the

Coalition publicly file its unredacted empowering documents and provide the Insurers with the

sealed client lists and incident data. See Hr’g Tr. 92:16-93:8. The Insurers and this Court sought

clarification on how the Coalition’s fees and expenses are being paid. See id. at 133:7-134:17.

          8.        The Court resolved the Coalition’s motion to seal at the Hearing. Id. at 122:12-

123:13. The Court granted the Coalition authority to file all personally identifiable information

under seal but required the Coalition to file unredacted empowering documents publicly except

for pricing information relating to State Court Counsel’s fees.8 See Hr’g Tr. 122:12-123:12.

          9.        Since the Hearing, the Coalition has worked diligently to resolve remaining

objections to its Motions. The Coalition filed an amended Rule 2019 statement. This statement

includes an explanation of the Coalition’s Affirmative Consent solicitation efforts, clarification

of the Coalition Counsel’s fee payment arrangement, and verified versions of all exhibits. This

Supplemental Brief addresses the requirements of Bankruptcy Rule 2019, how the Coalition has

complied with these requirements, and refutes the remaining objections to the Coalition’s

Motions.


7
    Messrs. Kosnoff and Van Arsdale resigned from the Coalition after the Hearing, and they and their Law Firms are
    no longer part of it. The Coalition brings this fact to the Court’s attention, although it has no impact on the
    sufficiency of the Coalition’s Rule 2019 disclosures for the reasons stated herein.
8
    The Coalition prepared a proposed order, which was approved by the U.S. Trustee, granting the motion to seal to
    the extent ordered by the Court at the Hearing, namely: (1) the client list is filed under seal, (2) the incident data
    is filed under seal, (3) the State Court Counsel retainer letters are filed publicly but with fee information redacted,
    and (4) the Brown Rudnick and MMBH letters are filed publicly. The personally identifiable information filed
    under seal shall be shared by the Coalition upon request of a Permitted Party (as defined by the Bar Date Order),
    and the Coalition is authorized but not required to share the information with non-Permitted parties under the
    Committee Advisor only designation of the Protective Order. See Coalition September 14, 2020 Letter to the
    Court [Docket No. 1315]. The Insurers filed a letter with the Court [Docket No. 1320] attaching a proposed order
    requesting immediate access to the personally identifiable information filed under seal and that the order be
    amended to reflect only restrictions and processes identified in the Protective Order, rather than the Bar Date
    Order. The TCC filed an opposing proposed order [Docket No. 1321] which amended the order to remove any
    reference to the Coalition, and rather identify Brown Rudnick and the State Court Counsel firms individually.
    The Coalition in response to these letters filed an Amended Proposed Order on the motion to seal incorporating
    portions of the Insurers’ edits. The Coalition provided verification of the State Court Counsel exemplars in its
    Second Amended Verified Statement.


{00219477-1}                                                 4
                Case 20-10343-LSS            Doc 1432        Filed 10/07/20       Page 5 of 22




                                                SUPPLEMENT

          A.       Bankruptcy Rule 2019 and Third Circuit Case Law

          10.      Bankruptcy Rule 2019 requires disclosure. It is not a gating statute designed to

preclude parties in interest from participating in a bankruptcy case. The Rule’s intention to

require disclosures is evident from both the plain language of Rule 2019 and Third Circuit case

law.

          11.      Rule 2019 was derived from Rule 10-211 under Chapter X of the Bankruptcy Act

of 1898, as amended by the Chandler Act of 1938. See In re Premier Int’l Holdings, Inc., 423

B.R. 58, 71 (Bankr. D. Del. 2010); In re Washington Mutual, Inc., 419 B.R. 271, 277 (Bankr. D.

Del. 2009). The Coalition has not located any case law since 1938 where a court has determined

if counsel has complied with the Rules of Professional Conduct or state mandates concerning

attorney advertisements in determining the sufficiency of a Rule 2019 disclosure.

          12.      The absence of such case law is hardly surprising. The fact that disclosures made

under Rule 2019 may be used to show compliance with state ethical rules is of no concern to a

rule that simply requires disclosure. In fact, case law concerning Rule 2019 generally concerns

two unrelated issues: first, whether disclosures must be made by ad hoc groups; and second,

whether information that is disclosed should be a matter of public record in mass tort

bankruptcies.

                   1.       Application of Bankruptcy Rule 2019 to Ad Hoc Groups

          13.      Prior to the 2011 amendments to Rule 2019, courts were divided on whether

Rule 2019 applies to ad hoc groups. Some Judges in this District found that ad hoc groups were

required to make disclosures under Rule 2019.9                  Other courts and Judges in this District


9
    See Washington Mutual, 419 B.R. at 280 (J. Walrath) (granting motion filed by JPMorgan Chase to compel a
    group of noteholders to make Rule 2019 disclosures); In re Sea Containers, Ltd., Case No. 06-11156, Transcript


{00219477-1}                                             5
               Case 20-10343-LSS             Doc 1432         Filed 10/07/20        Page 6 of 22




disagreed.10 This split was resolved when Rule 2019 was amended in 2011.11 Ad hoc groups

like the Coalition are required to make Rule 2019 disclosures. The TCC’s objection fails to

reflect the 2011 amendments to Rule 2019, which, as set forth herein, specifically require ad hoc

groups such as the Coalition to make Rule 2019 disclosures.

                 2.       Public Disclosure Not Required in Mass Tort Bankruptcies

         14.     The second body of case law concerns whether information that is disclosed under

Rule 2019 should be a matter of public record in mass tort bankruptcies—i.e., cases involving

asbestos victims.12 This body of case law recognizes the need to protect identifying information

about tort victims from widespread disclosure. Consistent with this case law, this Court ruled

that Coalition Counsel’s engagement letters should be filed in unredacted form, that State Court

Counsel may redact disclosures that reflect their monetary arrangements with clients, and that

personally identifiable information of the Sexual Abuse Survivors shall be filed under seal

consistent with the Court’s prior orders. See Hr’g Tr. 122:12-123:12.




   of Hr’g, at 35 (Bankr. D. Del. May 14, 2008) (J. Carey) (requiring a group of five bondholders to make Rule 2019
   disclosures); In re Accuride Corp., Case No. 09-13449, Transcript of Hr’g, at 116-17 (Bankr. D. Del. Jan. 20,
   2010) (J. Shannon) (granting a motion of the official committee of equity security holders to compel an ad hoc
   noteholder group to make Rule 2019 disclosures).
10
   See Premier, 423 B.R. at 63 (J. Stontchi) (denying motion of an official committee of unsecured creditors to
   compel an informal committee of noteholders to make Rule 2019 disclosures and holding that Rule 2019 does not
   apply to ad hoc groups); accord In re Philadelphia Newspapers, LLC, 422 B.R. 553, 567 (Bankr. E.D. Pa. 2010)
   (J. Raslavich) (following Premier and holding that a steering group of prepetition lenders was not required to
   make Rule 2019 disclosures).
11
   See Advisory Committee Notes, 2011 Amendments Subdivision (b), Fed. R. Bankr. P. 2019 (“In addition to an
   entity, group, or committee that represents more than one creditor or equity security holder, the amendment
   extends the rule’s coverage to groups or committees that consist of more than one creditor or equity security
   holder.”)
12
   See, e.g., In re Pittsburgh Corning Corp., No. 05-4781, 260 Fed. Appx. 463, at *465 (3d Cir. Jan. 10, 2008); In re
   Motions for Access of Garlock Sealing Techs., LLC, 488 B.R. 281, 302 (D. Del. 2013); Certain Underwriters at
   Lloyds v. Future Asbestos Claim Representatives (In re Kaiser Aluminum Corp.), 327 B.R. 554, 557 (D. Del.
   2005); see also Baron & Budd, P.C. v. Unsecured Asbestos Claimants, 321 B.R. 147 (D.N.J. 2005).


{00219477-1}                                             6
                  Case 20-10343-LSS      Doc 1432      Filed 10/07/20    Page 7 of 22




                   3.     Bankruptcy Rule 2019 Is a Disclosure Rule

          15.      Apart from the question of whether Rule 2019 applies to ad hoc groups and

whether personally identifying information about tort victims must be publicly disclosed, the

plain language of Rule 2019 and case law make it clear that Rule 2019 simply requires

disclosure.

          16.      The words “disclosure,” “disclosable,” and “disclosed” appear in Rule 2019 ten

times. See Fed. R. Bankr. P. 2019. The word “disclose” is defined to mean “to make known;

reveal.” Webster’s College Dictionary 383 (1996). The word “disclosure” is defined to mean

“[t]he act or process of making known something that was previously unknown; a revelation of

facts.”        Black’s Law Dictionary 477 (7th ed. 1999); see also Premier, 423 B.R. at 63

(encouraging a “plain meaning” reading of Rule 2019).

          17.      Rule 2019 requires “disclosure by groups” through the filing of a “verified

statement.” Fed. R. Bankr. P. 2019(b). This verified statement must disclose the information

specified in subdivision (c) of Rule 2019—i.e., [1] the pertinent facts and circumstances

concerning the group’s formation, including the name of each entity at whose instance the group

was formed or for whom the group has agreed to act, [2] with respect to each creditor

represented by a group, their name and address, and the nature and amount of each disclosable

economic interest held in relation to the debtor as of the date of the statement, and [3] a copy of

the instrument, if any, authorizing the group to act on behalf of creditors or equity security

holders.

          18.      The use of the phrase “if any,” used in subdivision (c)(4) of Rule 2019 indicates

that an ad hoc group that has no authorizing instruments must make a Rule 2019 disclosure.

Fed. R. Bankr. P. 2019(c)(4). By implication, an ad hoc group may fully comply with Rule 2019




{00219477-1}                                       7
               Case 20-10343-LSS        Doc 1432      Filed 10/07/20     Page 8 of 22




without disclosing any authorizing instruments, assuming no such instruments exist.                 If

authorizing instruments exist, Rule 2019 simply mandates that they be disclosed. Id.

         19.    Case law demonstrates that compliance with Rule 2019 turns on whether a group

has disclosed the required information. For example, in Baron & Budd, a group of insurers

challenged whether law firms representing tort victims had complied with Rule 2019. 321 B.R.

at 154. The law firms filed a verified statement under Rule 2019 but did not disclose their fee

sharing agreements. Id. at 165, 167. The issue was whether such agreements were “pertinent

facts and circumstances” under Rule 2019. Id. The insurers argued that such agreements were

governed by “ethical codes” of states and that disclosure was “inextricably intertwined” with the

overall fairness of the proposed plan—namely, the “plan’s classification system.” Id. at 162-65.

         20.    In response, the Court ordered the disclosure of the fee agreements—i.e., the

remedy for non-compliance with Rule 2019 was disclosure. Id. at 154, 166. The Court did not

determine whether the fee agreements complied with any state ethical codes, nor did it need to

do so to satisfy Rule 2019. Case law outside the Third Circuit shows that compliance with state

ethical codes is a matter separate from whether disclosure is required under Rule 2019. See, e.g.,

Matter of CF Holding Corp., 145 B.R. 124, 127 (Bankr. D. Conn. 1992) (“As noted, the

respondents represented in the [Rule 2019] Statement that in their view no conflict exists in the

multiple representations. That issue will not be before the court, if at all, until such time as there

has been a complete compliance by the respondents with Rule 2019.”); cf In re Johns-Mansville

Corp., 68 B.R. 618, 632 (Bankr. S.D.N.Y. 1986) (holding that the terms of a contingency fee

arrangement between asbestos claimants and their attorneys “is immaterial to these

reorganization proceedings. As such, these objections raise collateral disputes which this court is

not empowered to act upon.”)




{00219477-1}                                      8
               Case 20-10343-LSS       Doc 1432     Filed 10/07/20     Page 9 of 22




                4.     Disclosures Made in the Second Amended Verified Statement

         21.    As detailed in Second Amended Verified Statement, the Coalition has disclosed

all required pertinent information and, therefore, has complied with Rule 2019. The Coalition

has provided the pertinent facts and circumstances concerning the group’s formation, including

the name of each entity at whose instance the group was formed or for whom the group has

agreed to act. See Second Amended Verified Statement at § 1.

         22.    For Members that are part of the Coalition, the Coalition has provided their names

and addresses, a description of their economic interest held in relation to the Debtors as of the

date of the statement—i.e., they hold unliquidated sexual abuse tort claims against the Debtors.

Id. at § 2. The Coalition has provided copies of the instruments authorizing the group to act on

behalf of its Members, since such instruments exist. Id. at § 3. Compliance with Rule 2019

depends on the act of disclosure itself—i.e., the act of making known something that was

unknown. See Black’s Law Dictionary 477. Since everything has been disclosed, it follows that

the Coalition has complied with Rule 2019.

         23.    The Coalition’s disclosures may be used for various purposes in these Chapter 11

Cases. But how, or if, such information is used has no bearing on whether the Coalition has

complied with Rule 2019. The Insurers filed a 19-page brief arguing that attorney advertising

undertaken by Messrs. Kosnoff and Van Arsdale—who are no longer part of the Coalition—do

not comply with state mandates concerning attorney advertisements. See Docket No. 1266. This

Court resolved the advertising motion and issued an order which moots the Insurers’ arguments.

See Docket No. 1331. To the extent that these arguments are repeated in connection with the

2019 Motion and Mediation Motion, there arguments are a red herring.




{00219477-1}                                    9
               Case 20-10343-LSS             Doc 1432          Filed 10/07/20        Page 10 of 22




         24.      The Court obviously has jurisdiction to regulate the professional responsibility of

attorneys appearing before it. See Baron & Budd, 321 B.R. at 163-64. This jurisdiction was

exemplified by the Insurers’ earlier motion to disqualify Sidley Austin as the Debtors’ counsel

and this Court’s hearing on that motion.13 But ethical concerns or conflicts of interest revealed

by Rule 2019 disclosure may be dealt with, if at all, by the Court after full compliance and

disclosure and by a separate motion addressing the specific case concerns. See CF Holding, 145

B.R. at 127.

         25.      The Insurers misconstrue the effect of underlying ethical issues on the sufficiency

of a Rule 2019 disclosure; in truth, underlying conflicts of interest or ethical considerations may

be revealed by Rule 2019 disclosure, but the revelation of such information does not negate

Rule 2019 compliance. To be clear, Brown Rudnick and MMBH are the counsel representing

the Coalition before this Court. To address the Court’s question as to whether it must spend its

time engaging in a 50-state survey of the nuances of professional responsibility rules for

Coalition Member’s State Court Counsel in order to rule on the Coalition’s 2019 Motion, the

answer is obviously “no.” See Hr’g Tr. 108:11-20.14

         B.       Concerns Raised Over the Coalition’s Authority to Act Are Misplaced

         26.      At the Hearing, the TCC and the Insurers also argued that the Coalition failed to

establish a proper nexus of authorization between the Coalition Counsel and the individual

Members.       See Hr’g Tr. 110:18-113:6.              But the Coalition has disclosed the authorizing

13
   See In re Boy Scouts of Am., Case No. 20-10343, Bench Ruling Delivered May 29th (Bankr. D. Del. May 29,
   2020) and related appeal, Century Indemnity Co. v. Boy Scouts of America (In re Boy Scouts of America et. al)
   Case 1:20-cv-00798-UNA (D. Del. 2020).
14
   To be clear, the Coalition disputes the Insurers’ and the TCC’s contentions that there are any ethical deficiencies.
   The potential issues raised regarding the State Court Counsel retention letters are complicated and implicate
   matters involving individual victims and their chosen counsel. The Affirmative Consent noticing procedure
   employed by the Coalition expressly affirms the Coalition Counsel’s authority to act on behalf of each Member
   who assents; thereby, addressing the root of the concerns raised by the Insurers and the TCC in their ethical
   attacks on the State Court Counsel engagement letters. See Hr’g Tr. 112:15-116:113:1.


{00219477-1}                                              10
                 Case 20-10343-LSS            Doc 1432         Filed 10/07/20      Page 11 of 22




instruments that exist and, therefore, has satisfied its obligations under Rule 2019. See Fed. R.

Bankr. P. 2019(c)(4). If the documents disclosed did not show any authority to act—which they

plainly do—the consequence under Rule 2019 is that such documents would not have to be part

of the Coalition’s disclosure. See id. (requiring disclosure of “a copy of the instrument, if any,

authorizing” the group to act “on behalf of creditors or equity security holders”) (emphasis

added).

           27.      Assuming, arguendo, that the Coalition must prove that Coalition Counsel is

authorized to act on behalf of the Members, the Coalition’s disclosures show that Coalition

Counsel is, in fact, so authorized. See Second Amended Verified Statement at § 3. The

Coalition has explained the facts and circumstances of its authority to represent the Members.

           28.      The Members are Sexual Abuse Survivors. Each Member retained one of the

State Court Counsel firms and signed an engagement letter that include provisions allowing the

State Court Counsel to affiliate with or retain co-counsel. Id. The State Court Counsel retained

the Coalition Counsel and executed engagement letters with Brown Rudnick and MMBH. Id.15

The State Court Counsel sent notification to all the Members of the Coalition Counsel retention.

Id.

           29.      In a good faith effort to respond to the concerns raised at the Hearing, the

Coalition engaged in an additional, affirmative noticing scheme to Coalition Members. Id. The

State Court Counsels sent a request for express written acknowledgment and consent for


15
     The Brown Rudnick Engagement Letter provides that the “Law Firms each represent and warrant that they have
     the authority to sign this Engagement Letter on behalf of their respective Law Firm Clients and bind the Law
     Firm Clients to the terms hereof.” Id. at § 3 and Exhibit A. (emphasis added). The Brown Rudnick Engagement
     Letter further provides that Brown Rudnick’s engagement is with the “Ad Hoc Committee as a whole, and not any
     individual member thereof.” Id. This is a group representation, meaning that the Members, by and through their
     chosen counsel, retained Brown Rudnick to represent their collective interests in and as an ad hoc committee in
     respect of the Debtors and their cases, as set forth in the “Scope of Engagement.” The Brown Rudnick
     Engagement Letter provides that “[t]he Firm shall not act on behalf of the Ad Hoc Committee in a manner that is
     contrary to any direction we receive from the Law Firms.” Id.


{00219477-1}                                              11
               Case 20-10343-LSS       Doc 1432       Filed 10/07/20    Page 12 of 22




Coalition Counsel to represent the collective interests of such Members, and authority for each

Member’s respective State Court Counsel to represent such Member’s interests and to direct and

instruct Coalition Counsel in connection with the activities of the Coalition. Id.

         30.     Over 4,500 Members have signed and returned these Affirmative Consents

acknowledging Coalition Counsel’s authority to act on behalf of the collective interests of the

Members. Id. The Coalition expects to receive the same affirmative consent from many of its

other Members. The Coalition has filed a verified exemplar of this notification. Id. Coalition

Counsel has the authority to act on the behalf of its Members in the same manner as counsel to

virtually every ad hoc group of bondholders that has appeared in chapter 11 cases pending in this

District. There is no reason to treat an hoc group of sexual abuse survivors differently.

         31.     In response to the Court’s request for clarification on how the Coalition Counsel’s

fees are being paid—see Hr’g Tr. 133:23-134:17—the Affirmative Consent also makes it clear

that the fees and expenses incurred by Coalition Counsel will be paid by State Court Counsel—

not by the Members—and that any payment of such fees and expenses by State Court Counsel

will not increase the fees and expenses owed by Members to their State Court Counsel. See

Second Amended Verified Statement at ¶ 11.

         C       Remaining Objections Are Misplaced and Should be Overruled

         32.     The TCC and the Insurers, both at the Hearing and in their pleadings filed in

response to the Motions, made additional arguments that should be overruled.

                 1.     The Insurers Are Not Parties in Interest and Lack Standing

         33.     Before addressing these arguments, the Coalition notes, as a threshold matter, that

the Insurers lack standing to object to the Coalition’s Rule 2019 disclosures. Section 1109(b) of

the Bankruptcy Code addresses who has the right to be heard in a chapter 11 case. See 11 U.S.C.




{00219477-1}                                     12
               Case 20-10343-LSS              Doc 1432          Filed 10/07/20        Page 13 of 22




§ 1109(b). Section 1109(b) provides that “[a] party in interest, including the debtor, the trustee, a

creditors’ committee, an equity security holders’ committee, a creditor, an equity security holder,

or any indenture trustee, may raise and may appear and be heard on any issue in a case under

this chapter.” Id. (emphasis added).

         34.      The Insurers are not a debtor, a trustee, a creditors’ or an equity security holders’

committee, an equity security holder, a creditor, an equity security holder, or an indenture

trustee. They do not qualify as a “party in interest” that has a general right to be heard in a

chapter 11 case.

         35.      Third Circuit case law does permit insurers that do not qualify as parties in

interest to be heard in a chapter 11 proceeding, but only when the matter specifically impacts the

insurer’s rights.16 There may be contested matters in these cases that specifically impact the

Insurers. On these issues, the Insurer may have a right to be heard. But the fact that the

Coalition has made disclosures under Rule 2019 is not one of them, particularly where, as here,

the Insurers have been granted access to the Coalition’s Rule 2019 disclosures in their entirety.

         36.      If the Insurers are somehow parties in interest, then they should be required to

immediately comply with Rule 2019 themselves. Century’s counsel alone represents multiple

insurers in these cases. See In re Oklahoma P.A.C. First Ltd. P’ship, 122 B.R. 387, 392 (Bankr.

D. Ariz. 1990) (law firm representing five creditors required to make Rule 2019 disclosure).

And, under Rule 2019, as amended in 2011, the TCC and the Ad Hoc Committee of Local


16
   Compare In re Combustion Eng’g, 391 F.3d 190, 218 (3d Cir. 2004) (insurer does not have standing to challenge
insurance neutral provisions in a chapter 11 plan); Pittsburgh Corning, 260 Fed. Appx. at 466 (insurers lacked
standing to challenge Rule 2019 order based on alleged “conflicts of interest on the part of plaintiffs’ lawyers” and
alleged need to investigate ‘fraudulent asbestos claims’”); and Kaiser, 327 B.R. at 558 (insurers lacked standing to
challenge Rule 2019 order that restricted their access to information about tort victims); with In re Global Indus.
Techs., Inc., 645 F.3d 201, 211-12 (3d Cir. 2011) (party must show some “injury in fact, i.e., some specific,
identifiable trifle of injury” and finding insurers had standing to object to the confirmation of plan that substantially
increased—“by more than 27 times”—their prepetition liability exposure); and Baron & Budd, 321 B.R. at 158-59
(insurers “had standing with respect to plan confirmation” where plan impacted the insurers’ rights).


{00219477-1}                                               13
                Case 20-10343-LSS           Doc 1432        Filed 10/07/20       Page 14 of 22




Councils are also required to make Rule 2019 disclosures, which, to date, both failed to do.17

The selective application of Rule 2019 to an ad hoc group of tort victims is improper. See

Premier, 423 B.R. at 74 (finding that party had “engaged in a litigation tactic” was “self-evident”

by the fact that the party did not seek application of Rule 2019 to its allies in the cases even

though Rule 2019 plainly applied to them).

                  2.      The TCC’s Arguments Ignore the 2011 Amendments to Rule 2019

         37.      The TCC’s arguments ignore the 2011 amendments to Rule 2019. The TCC

argues that the Coalition cannot be a Mediation Party because it is not an “entity,” as defined by

and subject to disclosure under Rule 2019, and then turns this argument on its head by asserting

that the Coalition cannot be a mediation party—or participate in the bankruptcy cases at all—

because it has not complied with Rule 2019. See TCC 2019 Objection at 19. This makes no

sense at all.

         38.      The TCC’s assertion that the Coalition is not an “entity” is grounded in case law

holding that ad hoc groups are not subject to Rule 2019 disclosures, as discussed above. TCC

2019 Objection at 16; see Premier, 423 B.R. at 63; Philadelphia Newspapers, 422 B.R. at 567.

The TCC argues that because Coalition does not fit into the Premier and Philadelphia

Newspapers Courts’ interpretation of “entity” or “committee” under the prior version of Rule

2019, the Coalition is “fictitious.” See TCC 2019 Objection at 16. The TCC goes on to assert

that the Coalition is illegitimate or “fictitious” because the Coalition is “comprised of its




17
   Neither the TCC nor the Ad Hoc Committee of Local Councils have filed a Rule 2019 Verified Statement in
these cases. Each group is required under Rule 2019 to make such disclosures, both are named Mediation Parties,
and neither has made any effort to comply with their Rule 2019 obligations. Cf. Verified Statement of the Official
Committee of Unsecured Creditors Pursuant to Bankruptcy Rule 2019, [Docket No. 484]; see also Advisory
Committee Notes, 2011 Amendments Subdivision (b), Fed. R. Bankr. P. 2019 (“The rule no longer excludes official
committees, except as specifically indicated.”)


{00219477-1}                                           14
                 Case 20-10343-LSS              Doc 1432         Filed 10/07/20        Page 15 of 22




members, nothing more, nothing less.”                    See TCC 2019 Objection at 17; TCC Mediation

Objection at 17.

           39.       But the current version of Rule 2019, as amended in 2011, requires the Coalition

to make a disclosure precisely because it is comprised of its Members. The 2011 amendments

expanded Rule 2019 to cover ad hoc groups in order to resolve disputes such as the ones in

Premier and Philadelphia Newspapers over whether Rule 2019 applies to ad hoc committees or

coalitions.18 The Coalition has never averred that it is not subject to Rule 2019 disclosures or

attempted to avoid such compliance.                  But if, as the cases the TCC cites hold, Rule 2019

disclosures are not required by ad hoc groups like the Coalition—i.e., the Coalition is not an

“entity” subject to Rule 2019—the TCC fails to explain how an exception from a disclosure

provision could possibly affect the Coalition’s right to participate in the Mediation or in these

bankruptcy cases.

           40.       The TCC mistakenly views Rule 2019 as some sort of enabling act which imbues

rights to creditor groups; rather than what it is, merely a disclosure requirement. The Premier

Court opined about ad hoc committees that “there is nothing neither nefarious nor problematic,

in and of itself, in disparate parties banding together to increase their leverage. Indeed, enabling

such is one of the primary rationales for the existence of the Bankruptcy Code.” 423 B.R. at 76.

18
     Compare Fed. R. Bankr. P. 2019(b)(1) (“shall be filed by every group or committee that consists of or represents,
     and every entity that represents, multiple creditors or equity security holders that are (A) acting in concert to
     advance their common interests…”); with Philadelphia Newspapers, 422 B.R. at 565 (quoting Fed. R. Bankr. P.
     2019(a)) (“every entity or committee representing more than one creditor or equity security holder and unless
     otherwise directed by the Court … shall file a verified statement…”); see also Bankruptcy Advisory Committee’s
     Report to the Standing Committee, June 14, 2010 (recommending the revision of Rule 2019 to include (i) “the
     addition of a definition of ‘represent’ or ‘represents’ in subdivision (a)(2) that limits the meaning of the terms to
     taking a position before the court or soliciting votes on a plan, thereby removing entities that are only passively
     involved in a case from coverage under the rule” and (ii) “the addition of a provision in subdivision (b)(1)
     providing that the covered groups, committees, and entities are those that represent or consist of multiple creditors
     or equity security holders that act in concert to advance their common interests and are not composed entirely of
     affiliates or insiders of one another”). It need be noted that the pre-2011 amendment Fed. R. Bankr. P. 2019(a) is
     analogous to current Fed. R. Bankr. P. 2019(b)(1), because the current Fed. R. Bankr. P. 2019(a) is now a
     definitions section. The current version of Rule 2019(a) explicitly defines what it means to “represent,” which the
     TCC instead defines in its objection through Premier.


{00219477-1}                                                15
               Case 20-10343-LSS       Doc 1432       Filed 10/07/20   Page 16 of 22




The Coalition is comprised of 28,000 real creditors—not insurance companies—that qualify as

parties in interest and have a right to be heard. See 11 U.S.C. 1109(b).

                 3.     The Coalition Does Not Have Contempt for the Bankruptcy Process

         41.     Since its formation, the Coalition has been the subject of attacks by the TCC and

the Insurers. The TCC has referred to the Coalition as a “marketing term,” and has gone so far

as to assert that certain Law Firms that are part of the Coalition have “contempt for the

bankruptcy process” and are “scheming to exert their control over the entire process” to prevent

the Debtors’ cases from moving forward. TCC 2019 Objection at 3, 21. Obviously, the Debtors

and the Mediators do not agree. See Docket No. 1269-1 at ¶¶ 3, 7; Hr’g Tr. 137:3-5; 138:5-13.

         42.     The Coalition is an ad hoc committee that represents a clear supermajority of

Sexual Abuse Survivors—28,000 and growing. It is not a “marketing term.” The Law Firms

formed the Coalition for the benefit of and inclusion of their clients in the bankruptcy process

and elected to associate with bankruptcy counsel to represent the Coalition. Brown Rudnick has

recognized and significant experience representing official and ad hoc committees of victims and

tort claimants in mass tort bankruptcies in this and other courts and successfully achieving

confirmation of consensual plans therein. The Law Firms are comprised of lawyers that have

dedicated decades of their lives to representing sex abuse victims and have experience in

complex bankruptcy cases. None of these firms have contempt for the bankruptcy process.

Rather, they are here precisely because they support the bankruptcy process and understand what

must occur for there to be a consensual resolution.

         43.     For the Debtors to confirm a consensual plan, they must solicit and obtain the

acceptance of tort victims in the threshold amounts set forth in 11 U.S.C. § 1126(c)—i.e., “at

least two-thirds in amount and more than one-half in number.” The Debtors have indicated that




{00219477-1}                                     16
                 Case 20-10343-LSS           Doc 1432        Filed 10/07/20      Page 17 of 22




they are interested in confirming a plan that includes a channeling injunction and third-party

releases for contributing non-debtors.19 Under In re Millennium Lab Holdings II, LLC, 575 B.R.

252, 272 (Bankr. D. Del. 2017), this will require a supermajority of survivor votes to confirm

such a plan.

           44.     The Debtors believe the Coalition has satisfied Rule 2019 disclosures and they

support the Coalition’s participation in the Mediation. See Docket No. 1269-1. And, since the

Coalition appeared in these cases in late July, the Debtors have engaged in a productive dialogue

with the Coalition’s legal advisors, including restructuring counsel and state court counsel. Id. at

¶ 5. The Coalition recently provided Debtors’ counsel with voluminous data regarding its

Members and their abuse claims. Id. This detailed claim information is necessary for the parties

to advance to the next stage of mediated plan negotiations in advance of the November 16 bar

date.      Id.   The Debtors also identified the Coalition’s good faith efforts to negotiate in a

resolution on the advertising issue. Id. at ¶ 6.

           45.     The Coalition seeks to be a constructive participant in these cases.                 As the

Coalition’s filings to date show, the decision to form an ad hoc group and retain Brown Rudnick

as bankruptcy counsel to represent the collective interests of the Coalition’s Members has made

it possible for parties with similar issues in these cases to file one pleading and speak through

one voice. This provides the Court with the advantage of hearing a single voice stating the

position of over 28,000 survivors as opposed to the numerous voices of the survivors’ litigation

counsel. This provides benefits to the Debtors and streamlines a more effective, equitable

process.




19
     See Chapter 11 Plan of Reorganization for Boy Scouts of America and Delaware BSA, LLC, filed on February 18,
     2020 [Docket No. 20], Article IV.E at 28.


{00219477-1}                                            17
               Case 20-10343-LSS       Doc 1432       Filed 10/07/20   Page 18 of 22




         46.     As the Court well-knows, and as the Debtors have repeated without contradiction

on numerous occasions, time is of the essence to save the Debtors and scouting, and the most

productive path forward to constructive progress in the Mediation and the bankruptcy proceeding

is with the Coalition as an active party. See Hr’g Tr. 137:3-5; 138:5-13. The Coalition’s interest

in these cases flows from its genuine desire to move the Debtors’ cases forward, which cannot

happen if the Coalition is barred from participating in these cases.

                 4.     Excluding the Coalition from the Mediation Is Not Constructive

         47.     The TCC and Insurers both seek to exclude the Coalition from the Mediation.

See TCC Mediation Objection at 1; Motion to Compel at 29. The TCC argues that the Coalition

should be excluded because the “existing Mediation Parties must know who they are negotiating

with, who the other parties represent, and that their counsel has the authorization to bind their

clients.” TCC Mediation Objection at 1. Hartford, one of the Insurers, argues that permitting a

Coalition that “represents the majority of sexual abuse claimants against the Debtors” to

participate in the Mediation is inconsistent with “how a chapter 11 proceeding works” and that

the TCC’s function is to “ensure that all legitimate abuse claim holders are treated fairly with

respect to one another.” Hartford Objection at 4-5.

         48.     The Coalition seeks the confirmation of a consensual plan. For this to occur, the

Coalition Members must overwhelmingly vote in favor of plan confirmation. The Coalition

obviously cannot “bind” its Members (and, of course, the TCC cannot “bind” the creditors it

represents).    As an ad hoc committee, the Coalition itself will not vote on any plan of

reorganization or file proofs of claim: it, like the TCC, can at the appropriate time urge and

recommend plan approval. The issue is how to negotiate and formulate a plan that Sexual Abuse

Survivors will support.




{00219477-1}                                     18
               Case 20-10343-LSS      Doc 1432       Filed 10/07/20    Page 19 of 22




         49.     Currently in the Mediation are, among other parties, the BSA, Insurers and the

TCC. As a result of the Sexual Abuse, the level of trust that Sexual Abuse Survivors have with

the BSA is limited, if any exists at all. The Insurers want to avoid liability under their insurance

policies and have an interest in as few victims as possible having representation and participating

in the bankruptcy process. This is not a moral judgment, but a statement of their economic

incentives.

         50.     The TCC failed to object to the BSA’s motion to silence attorney

communications. See Docket No. 1145, 1190 & 1264. The TCC failed to object to the approval

of a claim form that violates Bankruptcy Rule 3001(b) and imposes heightened filing obligations

on tort victims. See Docket No. 1388. The TCC, through its counsel, now stands in a quite

remarkable unholy alliance with the Insurers by joining with the Insurers in seeking to bar

representatives of over 28,000 Sexual Abuse Survivors from participating in the Mediation.

Such tactics do little to engender the Coalition Members’ confidence in a plan process that

includes the BSA, the Insurers, and the TCC, but purposefully excludes their chosen

representatives.

         51.     Unlike counsel for the Debtors, the TCC, and the Insurers, the State Court

Counsel were specifically retained by Members to bring claims against the BSA and other

parties; and the State Court Counsel formed the Coalition for the benefit of its Members and

retained counsel to represent the collective interests of the Members in the bankruptcy process.

A process that includes the Coalition and their chosen bankruptcy counsel is the best path

forward.

         52.     The results achieved in other mass tort bankruptcies support the truth of this

assertion. For example, in Insys Therapeutics, Inc., No. 19-11292 (KG) (Bankr. D. Del. October




{00219477-1}                                    19
               Case 20-10343-LSS     Doc 1432       Filed 10/07/20   Page 20 of 22




23, 2019) [Docket No. 803], the Bankruptcy Court ordered the Debtors, the Official Committee

of Unsecured Creditors, counsel to the MDL Plaintiffs’ executive committee (a judicially created

administrative coordinating committee for plaintiffs in an MDL), and counsel to certain states to

mediation to facilitate the resolution of disputes over the claims analysis protocol in the

bankruptcy of an opioid manufacturer. The Plaintiffs’ executive committee, which could not

bind and could only make recommendations to its constituency, was made a full mediation party

by this Court.

         53.     In In re Purdue Pharma L.P., Case No. 19-23649 (Bankr. S.D.N.Y. 2019), the

Bankruptcy Court entered a mediation order directing broad negotiations among no fewer than

six (6) ad hoc committees of opioid litigation claimants. See id., Order Appointing Mediators

[Docket No. 895]. The ad hoc committees in Purdue are negotiating alongside the debtors and

the official committee, including an ad hoc group of individual tort victims (where the official

committee was partially comprised of, among various other types of non-governmental creditors

reflected in the ad hoc committees, individual tort victims). Id. The result of a mediation that

included the ad hoc groups was a term sheet for plan settlements between three ad hoc

governmental entity groups and each of the principal ad hoc committees of private opioid

claimants representing hospitals, neonatal abstinence syndrome babies, third party payors and

personal injury plaintiffs. See Mediators’ Report [Docket No. 1716]. This mediation would not

have been successful if these ad hoc groups had been excluded.

         54.     Likewise, In re PG&E Corporation, No. 19-30088 (DM) (Bankr. N.D. Cal.

Dec. 17, 2019), the Bankruptcy Court approved a restructuring support agreement (the “RSA”)

that was signed by both the TCC and law firms representing individual tort victims holding

approximately 70% in number of prepetition tort claims following a court-approved mediation




{00219477-1}                                   20
                Case 20-10343-LSS      Doc 1432      Filed 10/07/20   Page 21 of 22




that involved the Debtors, shareholders, the unsecured creditors committee, the tort claimants

committee and the representative law firms. See id., Motion to Authorizing Debtors to Enter into

Restructuring Support Agreement with the TCC, Consenting Fire Claimant Professionals, and

Shareholder Proponents [Docket No. 5038].

          55.     Importantly, the RSA in PG&E did not purport to bind the law firms’ clients to

vote for or against plan confirmation. Id. Nor did it suggest that the tort claimants committee in

those cases could bind tort victims, which it obviously could not. The RSA in PG&E led to an

accepting class because the tort victims’ chosen counsel were included in the mediation and

recommended that their clients support the plan. Insys Therapeutics, Purdue and PG&E are

clear examples of how chapter 11 proceedings ought to work. The parties that want to move

these cases forward understand this. Broad support must be garnered for the confirmation of a

chapter 11 plan that recognizes the horrific, irreparable injuries suffered by the Sexual Abuse

Survivors and seeks to fairly compensate them for their injuries. This is why the Coalition is

here.

                                         CONCLUSION

          WHEREFORE, the Coalition respectfully requests that the Court enter orders granting

the Motions and granting the Coalition such other and further relief as the Court deems just and

proper.

Dated: October 7, 2020                        MONZACK MERSKY
Wilmington, Delaware                          BROWDER AND HOCHMAN, P.A.

                                              /s/ Rachel B. Mersky
                                              Rachel B. Mersky, Esq. (DE No. 2049)
                                              1201 North Orange Street, Suite 400
                                              Wilmington, Delaware 19801
                                              Telephone:     (302) 656-8162
                                              Facsimile:     (302) 656-2769
                                              E-mail:        RMersky@Monlaw.com



{00219477-1}                                    21
               Case 20-10343-LSS   Doc 1432    Filed 10/07/20   Page 22 of 22




                                                -and-

                                        BROWN RUDNICK LLP
                                        David J. Molton, Esq. (admitted pro hac vice)
                                        Eric R. Goodman, Esq. (admitted pro hac vice)
                                        Seven Times Square
                                        New York, NY 10036
                                        Telephone: (212) 209-4800
                                        E-mail: DMolton@BrownRudnick.com
                                        E-mail: EGoodman@BrownRudnick.com

                                                -and-

                                        Sunni P. Beville, Esq. (admitted pro hac vice)
                                        Tristan G. Axelrod, Esq. (admitted pro hac vice)
                                        One Financial Center
                                        Boston, MA 02111
                                        Telephone: (617) 856-8200
                                        E-mail: SBeville@BrownRudnick.com
                                        E-mail: TAxelrod@BrownRudnick.com

                                        Co-Counsel to the Coalition of Abused Scouts for
                                        Justice




{00219477-1}                              22
